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                                                             UNITED STATES DlSTRICf COURT
                                                         SOUTHERN DISTRlCf OF NEW YORK
  - - - - - - - . - - - - - - - - - - e _ _ _ _ _ _ _ _ _ _ _ • ____ - - - - - - - - _ . - - - - - - - ­   X
  IN RE: TERM COMMODITIES
  COTTON FUTURES LITIGATION
                                                                                                           : Master Docket
                                                                                                           : No. 12-cv-5126 (ALe) (KNF)

                                                                                                           : STIPULATION AND PROPOSED
  This Document Relates To: All Actions                                                                    ; ORDER


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                               JOINT STIPULATION Ai"D PROPOSED ORDER REGARDING
                                   DEFENDANT LOUIS DREYFUS COMMODITIES B.V.

                                    IT IS HEREBY STIPULATED AND AGREED by and between the parties that,

                                    1.              Notwithstanding the last sentence of footnote one of Pre-Trial Order No.1,

  filed on August 13,2012, all provisions of Pre-Trial Order No.1 6hall apply to Defendant Louis

  Dreyfus Commodities B.V.

                                    3.               This Stipulation and Order shall not be construed as a waiver of. and Louis

  Dreyfus Commodities B.V. ex.pressly reserves, any and all defenses, including without limitation

  any and all defenses related to personal jurisdiction.
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  Respectfully Submitted.

  Dated: September 'l.(2012


  L~.W.
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  JACOBSO
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  Interim Lead Class Counsel
  Counsel/or Plaintiffs



  PURSUANT TO STIPULATION,
  IT IS SO ORDERED:

       /~~y
  Hon. Kevin Nathaniel Fox.
  United States Magistrate Judge

  DATED: _I0_1.tt:_'/1_"2--_
